                                 Case 2:16-cv-07747-BRO-JC Document 1 Filed 10/18/16 Page 1 of 16 Page ID #:1



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                                   5   Attorneys for Defendant
                                       RETRIEVAL-MASTERS CREDITORS BUREAU, INC., a.k.a. AMERICAN
                                   6   MEDICAL COLLECTION AGENCY
                                   7
                                   8                         UNITED STATES DISTRICT COURT
                                   9                       CENTRAL DISTRICT OF CALIFORNIA
                                  10
                                  11   BRUCE RORTY,                                      CASE NO.
                                                                                         [Los Angeles County Superior
2211 Michelson Drive Suite 400




                                  12                             Plaintiff,              Court Case No. BC619514]
     Gordon & Rees LLP




                                  13         vs.
      Irvine, CA 92612




                                                                                         NOTICE OF REMOVAL
                                  14   AMERICAN HOME SHIELD                              UNDER 28 U.S.C. § 1441 (A)
                                       CORPORATION, a Delaware corporation;              (FEDERAL QUESTION)
                                  15   RETRIEVAL-MASTERS CREDITORS
                                       BUREAU, INC., a.k.a. AMERICAN                     [Filed concurrently with Notice of
                                  16   MEDICAL COLLECTION AGENCY, a                      Lodgment of State Court
                                       New York corporation; HIRED GUN                   Pleadings and Civil Case Cover
                                  17   EXTERMINATING, INC., GALKOS                       Sheet]
                                       LICO’S CONSTRUCTION, INC.;
                                  18   AMERICAN TELEPHONE AND                            Complaint filed: May 10, 2016
                                       TELEGRAPH COMPANY; DOE 1, THE
                                  19   ENTITY CALLING FROM 888-832-4110,
                                       and DOES 2 to 100,
                                  20
                                                                 Defendant.
                                  21
                                  22
                                       TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                                  23
                                             PLEASE TAKE NOTICE that defendant Retrieval-Masters Creditors
                                  24
                                       Bureau, Inc., a.k.a. American Medical Collection Agency (hereinafter referred to
                                  25
                                       as “RMCB”) respectfully submits this Notice of Removal in this civil action from
                                  26
                                       the Superior Court of the State of California for the County of Los Angeles to the
                                  27
                                       United States District Court for the Central District of California, pursuant to 28
                                  28
                                                                                 -1-
                                                             NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
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                                   1   U.S.C. §§ 1441 and 1446, based on federal question jurisdiction. Specifically,
                                   2   plaintiff Bruce Rorty asserts a claim for damages against RMCB arising out of
                                   3   alleged violations of the California's Invasion of Privacy Act, Cal. Penal Code §
                                   4   630, et seq., the Telephone Consumers Protection Act, 47 U.S.C. § 227, et seq.
                                   5   ("TCPA"), and 47 C.F.R. § 1200, et seq. In support of this Notice of Removal,
                                   6   RMCB, through its counsel, states as follows:
                                   7                           PROCEDURAL BACKGROUND
                                   8         1.    Plaintiff commenced this action by filing a Complaint in the Superior
                                   9   Court of the State of California for the County of Los Angeles on May 10, 2016,
                                  10   styled Bruce Rorty v. American Home Shield Corporation, a Delaware
                                  11   corporation; Retrieval-Masters Creditors Bureau, Inc., a.k.a. American Medical
2211 Michelson Drive Suite 400




                                  12   Collection Agency, a New York corporation; Hired Gun Exterminating, Inc.;
     Gordon & Rees LLP




                                  13   Galkos Lico’s Construction, Inc.; American Telephone and Telegraph Company;
      Irvine, CA 92612




                                  14   DOE 1, the Entity Calling From 888-832-4110, and DOES 2 to 100, Case No.
                                  15   BC619514 (the “State Court Action”). See Complaint, attached hereto as Ex. A.
                                  16         2.    The Complaint alleges violations of the California's Invasion of
                                  17   Privacy Act, Cal. Penal Code § 630, et seq., the TCPA, and 47 C.F.R. § 1200, et
                                  18   seq. Complaint, ¶¶ 18, 20, 28-37. The Complaint was served on RMCB on
                                  19   September 19, 2016.
                                  20       BASIS FOR REMOVAL – FEDERAL QUESTION JURISDICTION
                                  21         3.     Under 28 U.S.C. § 1441(a), any civil action brought in a state court of
                                  22   which the district courts of the United States have original jurisdiction, may be
                                  23   removed by the defendant or the defendants, to the district court of the United
                                  24   States for the district and division embracing the place where such action is
                                  25   pending.
                                  26         4.    Further, 28 U.S.C. § 1441(b) provides that any civil action for which
                                  27   the district courts have original jurisdiction founded on a claim or right arising
                                  28
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                                                             NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
                                 Case 2:16-cv-07747-BRO-JC Document 1 Filed 10/18/16 Page 3 of 16 Page ID #:3



                                   1   under the Constitution, treaties or laws of the United States shall be removable
                                   2   without regard to the citizenship or residence of the parties.
                                   3         5.     In Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 753 (2012), the
                                   4   U.S. Supreme Court recognized that "[n]othing in the text, structure, purpose, or
                                   5   legislative history of the TCPA calls for displacement of the federal question
                                   6   jurisdiction U.S. district courts ordinarily have under 28 U.S.C. § 1331." See also
                                   7   Shupe v. JPMorgan Chase Bank of Ariz., 2012 U.S. Dist. LEXIS 54285, at *1 (D.
                                   8   Ariz. Apr. 18, 2012), citing Mims, 132 S. Ct. 740, 747 (adopting the magistrate's
                                   9   recommendation in denying plaintiff's motion to remand, which recognized that
                                  10   "'Congress did not deprive federal courts of federal-question jurisdiction over
                                  11   private TCPA suits.'").
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                                  12         6.     This Court has federal question jurisdiction over this action under the
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                                  13   provisions of 28 U.S.C. § 1331, and the matter is removable pursuant to
      Irvine, CA 92612




                                  14   28 U.S.C. § 1441 because the Complaint alleges that RMCB knowingly and
                                  15   willfully failed to properly train and inform its personnel about the existence and
                                  16   use of the do-not-call list; contacted Plaintiff who is on the do-not-call list; failed
                                  17   to maintain its own do-not-call list or add Plaintiff's phone number on a newly
                                  18   created list; and failed to provide Plaintiff with the name of the individual caller,
                                  19   the name of the person or entity on whose behalf the call is being made, and the
                                  20   telephone number or address at which the person or entity may be contacted, in
                                  21   violation of the TCPA and 47 C.F.R. § 1200, et seq. See Complaint, ¶¶ 28-37.
                                  22         7.     Accordingly, this action is one in which this Court has original
                                  23   jurisdiction under the provisions of 28 U.S.C. § 1331, and is one which may be
                                  24   removed to this Court by RMCB pursuant to 28 U.S.C. § 1441(b).
                                  25         8.     The Complaint also alleges state law claims against RMCB, namely,
                                  26   that RMCB violated the California's Invasion of Privacy Act, Cal. Penal Code §
                                  27   630, et seq. See Complaint, ¶¶ 18 and 20. These allegations are based on the same
                                  28   set of operative facts that form the basis of Plaintiff’s federal TCPA claim, and this
                                                                                 -3-
                                                             NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
                                 Case 2:16-cv-07747-BRO-JC Document 1 Filed 10/18/16 Page 4 of 16 Page ID #:4



                                   1   Court has supplemental jurisdiction over the state claims asserted in the Complaint
                                   2   pursuant to 28 U.S.C. § 1441(c).
                                   3                             TIMELINESS OF REMOVAL
                                   4         9.     As noted above, the Complaint was served on RMCB on September
                                   5   19, 2016. RMCB’s Notice of Removal is timely because RMCB filed this Notice
                                   6   “within thirty days after receipt by the defendant, through service or otherwise, of a
                                   7   copy of an amended pleading, motion, order or other paper from which it may first
                                   8   be ascertained that the case is one which is or has become removable.” 28 U.S.C.
                                   9   § 1446(b)(3).
                                  10                                             VENUE
                                  11         10.    Venue is proper in this district and division because the State Court
2211 Michelson Drive Suite 400




                                  12   Action was filed and is pending in the Superior Court of the State of California for
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                                  13   the County of Los Angeles, which is located within the United States District
      Irvine, CA 92612




                                  14   Court for the Central District of California.
                                  15                   COMPLIANCE WITH REMOVAL PROCEDURES
                                  16         11.    RMCB has complied with all of the procedural requirements for
                                  17   removal set forth in 28 U.S.C. § 1446. As noted above, the Notice of Removal is
                                  18   filed within 30 days of the service of the amended pleading from which it may first
                                  19   be ascertained that the case is one which is or has become removable.
                                  20         12.    Pursuant to § 1446(d), a copy of this Notice of Removal, including
                                  21   exhibits, is being served on Plaintiff.
                                  22         13.    Pursuant to § 1446(d), a copy of this Notice of Removal, including
                                  23   exhibits, will be filed with the Superior Court of the State of California for the
                                  24   County of Los Angeles, in Case No. BC619514.
                                  25         14.    Copies of all process, pleadings and orders served on RMCB are
                                  26   attached hereto.     See Notice of Lodgment of State Court Pleadings, filed
                                  27   concurrently herewith.
                                  28
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                                                             NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
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                                   1         WHEREFORE, for the foregoing reasons, RMCB removes this action from
                                   2   the Superior Court of the State of California for the County of Los Angeles to the
                                   3   United States District Court for the Central District of California and respectfully
                                   4   requests that this Court exercise jurisdiction over this action.
                                   5   Dated: October 18, 2016                      GORDON & REES LLP
                                   6
                                   7                                                By:     s/Sean P. Flynn
                                                                                          Sean P. Flynn
                                   8                                                      Attorneys for Defendant Retrieval-
                                                                                          Masters Creditors Bureau, Inc.
                                   9                                                      a.k.a. American Medical
                                                                                          Collection Agency
                                  10
                                  11
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     Gordon & Rees LLP




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      Irvine, CA 92612




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                                                             NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
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                       EXHIBIT A
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                                                                           Counlv of Los An&;
  4   Attorney for plaintiff
  5
                                                                                     1)
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  6
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                                                                           1haya Chan?bers
  7
                  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
  8
                        CENTRAL DISTRICT, STANLEY MOSK COURTHOUSE

 10

 11
      BRUCE RORTY,                               )        CASE NO.           BC           9 51 4
                     Plaintiff,         )                 (Unlimited Jurisdiction - Amount sought
 12                                     )                 is$25000ormore)
     vs.                                )
 13                                     )
     AMERICAN HOME SHIELD               )
 14 CORPORATION, a Delaware corporation;)
     RETRIEVAL - MASTERS CREDITORS )                      COMPLAINT FOR:
 15 BUREAU, INC., a.k.a. AMERICAN       )
     MEDICAL COLLECTION AGENCY. a )                           1. UNLAWFUL RECORDING OF
 16 New York corporation; HIRED GUN     )                         TELEPHONE CALLS, Penal
     EXTERMINATING, INC.; GALKOS        )                         Code §§ 632.7, 637.2
 17  LICO'S CONSTRUCTION INC                                  2 UNI AWFUL TELEMARKETING
                                        )
     AMERICAN TELEPHONE AND             )                         47 U.S.C. §227 (c) (5)
 18 TELEGRAPH COMPANY; DOE 1, THE)
     ENTITY CALLING FROM 888-832-4110)
 19 and DOES2to 100,                    )
 20                  Defendants.
 21

 22
      COMES NOW, plaintiff Bruce Rorty, ('plaintiff' or "Rorty") and alleges against the defendants,
 23
      and each of them, the following:
 24
      I      Plaintiff resided in Palos Verdes F states CA 90274 and San Pedro, CA 90732, Count)
 25
      of Los Angeles, when the calls at issue were placed, and is and was a residential and personal
 26
      mobile telephone subscriber. As of approximately late September 2014, the residential landline
 2/
      solely used an AT & T phone with two portable cordless telephone receivers. Before that,
 28
      plaintiff used a cordless Uniden telephone for the landline, (310) 3X5— OX7X, which was

                                                  -1-
                                               COMPLAINT
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 1 registered on the National Do Not Call Registry on or about December 20, 2004. The landline

  2   number is (3.10) X4X-X6XX.. The cell phone carrier is T - Mobile. 3 l0-X4X-X .1 XX,and it was

  3 registered on the National Do Not Call Registry on August 30, 2006, while the current landline

  4 was registered on the National Do Not Call Registry on or about December I 1., 2013.

  5          2.    Plaintiff is informed and believes and thereon alleges that at all material times

  6 alleged, defendant AMERICAN HOME SHIELD CORPORATION, a Delaware corporation, is

  7   headquartered in Memphis, Tennessee, sells home warranty plans, and. does business in

  8 California by virtue of placing telemarketing calls to California residents.

  9 3.       Plaintiff is informed and believes and thereon alleges that at all material times alleged,

10 defendant RETRIEVAL - MASTERS CREDITORS BUREAU, INC.. a New York corporation,

11 a.k.a. AMERICAN MEDICAL COLLECTION AGENCY, is a collection agency which does

12    business in California by virtue of placing telephone calls to California residents.

13 4.        Plaintiff is informed and believes and thereon alleges that at all material times alleged,

14    defendant HIRED GUN EXTERMINATING, INC. is in the business of pest-control and places

15 telemarketing calls to California residents.

16    5,     Plaintiff is informed and believes and thereon alleges that at all material times alleged,

17 defendant GALKOS CONSTRUCTION, INC. does business in California by virtue of placing

18 telephone calls to California residents.

19 6.        Plaintiff is informed and believes and thereon alleges that at all material times alleged,

20 defendant AMERICAN TELEPHONE AND TELEGRAPH COMPANY was a telephone

21 company selling business and residential telephone lines, and which does business in California

22    by virtue of selling telephone products to consumers, as well as to placing collection calls to

23 customers who reside in California.

24    7.     Plaintiff is informed and believes and thereon
                                                          .. alleges that at all material times alleged.

25 defendant i)OE 1 is the entity which called plaintiff from 888-832-41 10, and which does

26 business in California by virtue of selling home rescue services to California residents via

27 telemarketing.

28 8.        Plaintiff is informed and believes and thereon alleges that at all material times


                                                    -2-
                                                 COMPLAINT
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  1 alleged, DOE defendants I through 25 are individuals and or entities retained by the defendants

  2 who have placed telephone calls to plaintiff in connection with their business operations.

  3 Plaintiff is informed and believes and thereon alleges that at all material times alleged, DOE

  4 defendants 26 through 50 are individuals and/or entities engaged in lead generation who were

  5 retained by the defendants to generate leads on defendants' behalf. Plaintiff is informed and

  6 believes and thereon alleges that at all material times alleged, DOE defendants 51 through 100

  7 are individuals and or entities selling for-profit remodeling jobs, who have placed telemarketing

  8 calls to plaintiff in connection with their business operations.

  9 9.       The true names and capacities whether individual, corporate, associate or otherwise of

 10 Defendants DOES I through 100 are unknown to plaintiff at this time, who therefore sues these

 11 defendants by such fictitious names. Plaintiff will seek leave of court to amend this complaint to

12 show their true names and capacities when they are ascertained. Plaintiff is informed and

 13 believes, and thereon alleges, that each fictitiously named defendant is responsible in some

 14   manner for the occurrences alleged, and that plaintiff's injuries and damages as alleged were

 15 proximately caused thereby. Each reference in this complaint to "defendant," "defendants," or a

 16 specifically named defendant refers also to all defendants sued under fictitious names.

17 10.       Plaintiff is informed and believes, and thereon alleges, that at all times below mentioned,

18 each defendant may have been the agent, servant, employee, joint venturer, partner, and/or

 19 representative of the remaining defendants; and in doing the things hereinafter mentioned, each

 20 defendant may have been acting within that course, scope and authority as an agent, servant,

 21 employee, joint venturer, partner, and representative, whether such capacity was actual or

 22 apparent, with the knowledge and consent of each other defendant, and as authorized and/or

 23 ratified by each of the remaining defendants who were working with the particular defendants.

 24   11.     Plaintiff is informed and believes and therefore alleges that at all relevant times, each

 25 defendant acted pursuant to a common plan and/or aided and abetted certain other defendants in

 26 the wrongful acts alleged in this complaint, such that each is jointly and severally liable fo.r all

 27   harm caused to plaintiff, including that defendants may well be jointly and severally responsible

 28 and liable for the acts and occurrences set out below.


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                                                 COMPLAINT
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   1 12.      Plainti:ff is further informed and believes and thereon alleges that the defendants and

   2 DOES 1 to 100 were instrumental in making telephone calls to plaintiff, for the purpose of

   3 selling their services.

   4   13.    Whenever this complaint makes reference to any act of a defendant or defendants, the

   5 allegations shall be deemed to mean the act of those defendants named in the particular cause of

   6 action, and each of them, acting individually, jointly, or severally.

   7

   8                                       JURISDICTiON AN.D VENUE

   9   14.    This Court has jurisdiction in this matter pursuant to Code of Civil Procedure § 410.10,

 10    because defendants, and each of them, engaged in violations of 47 U.S.C. §227 as well as the

 11 privacy rights granted to California residents under California's Constitution.

 12 15.       Venue is proper in this Court per Code of Civil Procedure §§ 395 and 395.5 in that

 13 defendants, and each of them, by placing multiple telephone calls to a resident of the Southwest

 14    and South Districts, conducted business within the Southwest and South Districts, specifically in

 15 San Pedro, California, defendants' obligations and liability, arose in Los Angeles County, and
  .16 defendants' breaches occurred in Los Angeles County. This courthouse is the proper venue in

 17 that as this case is not a personal injury matter, or a collection matter, it is properly venued in the

 18 Central District, Stanley Mosk Courthouse.

 19

  20                                       FIRST CAUSE OF ACTION

  21                  UNLAWFUL RECORDING OF CALLS - Penal Code §§ 632.7, 37.2

  22                  (Against American Home Rescue Corporation, Retrieval-Master Creditors

  23                  Bureau, Inc., American Telegraph and Telephone Co.; and DOES 2 to 10)

  24   16.    Plaintiff realleges all paragraphs set out above alleged and incorporate these allegations

  25 by reference as if fully set forth.

  26 17.      On .May 12, 2015 at just after 8 AM, defendant American Home Shield Corporation

  27 telemarketed plaintiff. The caller did not announce at the beginning of the call that the call was

  28   being recorded or monitored, and there were no periodic, audible beeps during the call. Part way


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                                                 COMPLAINT .
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   1 into the call, plaintiff asked the caller if the call was being recorded, and the response was "yes."

   2   The caller was also asked if American home Shield Corporation had a written do not call policy,

   3 and the answer was no. In addition, the caller refused to send the policy if it had one, but stated

   4   that he or she did not know what plaintiff was asking for.

   5 18.        On or about May 14, 2015, plaintiff received a collection call from American Medical

   6 Collection Agency, a.k.a. Retrieval - Masters Creditors Bureau, Inc. The caller waited 29

   7 seconds into the call to say it was being recorded. Later, plaintiff telephoned American Medical

   8   Collection Agency and the caller waited 39 seconds into the call to say it was recorded. On a

   9 third call, Robert waited 2:25 to tell plaintiff the call was being recorded.

  10   19.      On June 8,2015, plaintiff received a collection call to his landline from American

 11 Telephone And Telegraph Company. and 800-228-2020 showed on caller ID. A Mr. Perez was

 12 caLling. Partway into the call, plaintiff asked Mr. Perez if he was recording the call, and he said it

 13 was possibly being recorded, as AT&T randomly will record calls. Plaintiff was calling in

 14    response to the bad service complaints I had he had made on a recent survey. There was no

 15 announcement at the beginning of the call that it was being recorded, nor were there periodic

 16 audible beeps.

 17 20.         Each surreptitiously recorded call violates Penal Code section 632,7, which prohibits

 18 surreptitious recording of cellular telephone calls and calls made to or from a wireless handheld

 19 receiver. Per Penal Code code section 637.2, each surreptitiously recorded call carries a possible

  20   statutory penalty of up to $5000.

  21

  22                                    SECOND CAUS.E OF ACTION

  23                 UNLAWFUL TELEMARKETI NC CALLS -47 U.S.C. § 227 (c) (5)

  24      (Against American Home Shield Corporation, Hired Gun Exterminating, Inc., Galkos

  25         Construction, Inc., Doe 1, The Entity Calling From 888-832-4110, and Does 2 to 100)

  26 21.        Plaintiff realleges all paragraphs set out above alleged and incorporate these allegations

  27 by reference as if fully set forth.

  28 22.        in or about 2010, but possibly earlier, plaintiff began receiving calls from defendants and


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                                                  COMPLAINT
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   1 their lead generators, although plaintiffs telephone numbers had been registered with the FTC's

   2 National Do Not Call Registry ("DNC List") for years when the calls began. Defendants were

   3 selling home remodeling jobs, and plaintiff does not have and never has had a preexisting

   4   business relationship with these defendants. The calls continied despite plaintiff seeking

   5 information like telephone numbers and addresses, which is a precursor to asking the callers

   6 questions about written Do Not Call policies, DNC lists, etc. The callers often hung up before

   7 plaintiff could tell them he is listed on the DNC Registry.

   8 23.      On or about May 12, 2012, plaintiff received a telemarketing call from American Home

   9 Shield Corporation. The caller stated that plaintiff had made an online application, which is how

 10 American 1-Tome Shield obtained his telephone number. Plaintiff stated that was stated that was

 11 totally incorrect. Therefore, the initial contact between plaintiff and American Home Shield or an

 12 entity calling on its behalf was a telemarketing call.

 13 24.       On or about January 17, 2012, plaintiff received an unsolicited telemarketing call from

 14    Hired Got hired gun exterminating, Inc., and then on May 13, 2012, a second telemarketing call

 15 was received from Hired Gun Exterminating, Inc.

  16   25.    On or about May 17, 201.2, plaintiff received an unsolicited telemarketing call from

 17 Galkos Construction, Inc., which was also selling solar panels.

  18

  19                                       THIRD CAUSE OF ACTION

  20                UNLAWFUL TELEMARKETING CALLS -47 U.S.C. § 227 (b) (3)

  21            (Against DOE 1, the Entity Calling From 888-832-4110; and Does 2 to 100)

  22   26.     Plaintiff realleges all paragraphs set out above alleged and incorporate these allegations

  23 by reference as if fully set forth.

  24   27.    On May 17, 2012 plaintiff received an unsolicited Robo call from 888-832-4110, and

  25 the female robot voice was calling on behalf of an alleged nonprofit organization that saves

  26 people's homes. Plaintiff pressed one but was unable to get the full identity of the entity placing

  27 the Robocall.

  28


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                                                  COMPLAINT
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   1                          ALLEGATIONS COMMON TO ALL CALLS

   2   28.    Each call carries a $500 statutory penalty per TCPA violation, and because the TCPA was

   3 willfully and knowingly violated, the court may treble the damages for each violation to $1,500

   4   per call. There is a four-year statute of limitations on unlawful telemarketing calls.

   5 29.      Plaintiff is further informed and believes and thereon alleges defendants and their lead

   6 sources and call centers are in violation of 47 C.F.R. § 64.1200(d) (2) in that all defendants were

   7   telemarketing personnel not properly trained and informed about the existence and use of the

   8 DNC list.

   9 30.      Plaintiff is informed and believes and thereon alleges that the lead sources and call

  10 centers and employees, were in violation of 47 C.F.R. § 64.1200(d) (4) in that the telemarketers

  11 did not provide plaintiff with the name of the individual caller, the name of the person or entity

  12 on whose behalf the call is being made, and did not provide a telephone number or address at

  13   which the person or entity may be contacted.

  14   31.     Plaintiff is informed and believes and thereon alleges that all defendants are in violation

  15 of 47 C.F.R. § 64.1200(c) (2) in that they telemarketed plaintiff, who is a residential telephone

  16 subscriber who has registered his telephone numbers on the National Do Not Call Registry of

  17 persons who do not wish to receive telephone solicitations that is maintained by the federal

  18 government.

  19 32.      Plaintiff is informed and believes and thereon alleges that all defendants do not maintain

  20   their own written do not call policy in compliance with 47 C.F.R. § 64.1200(d ) (1) and at times

  21 have refused to mail the policy, also a 47 C.F.R. § 64.1200(d )(l ) violation.

  22   33.     Plaintiff is informed and believes and thereon alleges that all defendants do not maintain

  23 their own do not call list in violation of 47 C.F.R. § 64.1200(d) (3) and at times have not placed

  24   plaintiff's phone number on a newly created list.

  25 34.       Plaintiff is informed and believes and thereon alleges defendants and each of them

  26 violated 47 U.S.C. § 227 and 47 C.F.R. § 64.1200 by calling plaintiff's cellular telephone since

  27 atleast20l4.

  28 35.         Plaintiff is informed and believes and thereon alleges that all of the above B mentioned




                                                  COMILA1NT
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   1 violations of the Telephone Consumers Protection Act [TCPA], 47 U.S.C. § 227, were knowing

   2   and willful in that. defendants knew they acted, or failed to act, in a manner that vfolated the

   3 statute, and that the defendants consciously and deliberately committed or omitted an act that

   4   violated the statute statutes. Therefore, plaintiff will be entitled to an award of treble damages for

   5 each discrete TCPA violation committed by defendants, and each of them.

   6 36.       As a proximate result of the unlawful activities of these defendants, and each of them, per

   7   47 U.S.C. § 227 (c) (5), plaintiff has a private rightof action to recover actual damages or $500

   8 per violation, whichever is greater. Plaintiff will amend this complaint when the actual number of

   9 violations is ascertained.

  10 37.      Due to the knowing and willful misconduct by defendants, and each of them, the court is

  11 authorized to award plaintiff up to three times the award amount available under subparagraph

  12   (B) of47U.S.C. § 227(c)(3). Moreover, on at least one occasion, plaintiff telephoned Home

  13 Advisor and both requested the written do not call policy, as well as to be placed on an internal

  14 do not call list. Plaintiff also asked that Home Advisor communicate with HIRG regarding the

  15 same. However, that did not occur inasmuch as the telemarketing calls have not ceased.

  16

  17           WHEREFORE, plaintiff prays for judgment against defendants, and each of them, as

  18 follows:

  19 FOR THE FIRST CAUSE OF ACTION:

  20   1.      For statutory penalties of $5000 per call, per Pen.al Code § 637.2;

  21 FOR THE SECOND CAUSE OF ACTION:

  22   2..     For statutory penalties of $500 per call per 47 U.S,C.L § 227 (c) (5) and 47 C.F.R. §

  23 64.1200;

  24   3.      For treble damages for each violation of 47 U.S.C. § 227 and 47 C.F.R. § 64.1200

  25 violation that is determined to be willful or knowing;

  26 FOR THE THIRD CAUSE OF ACTION:

  27 4..       For statutory damages of $500 for each separate violation of 47 U.S.C. § 227 (b) (3) and

  28 47 C.F.R. § 64.1200; and


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   1 5.      For treble damages for each violation of 47 U.S.C. § 227 and 47 C.F.R. § 64.1200

   2 violation that is determined to he willful or knowing.

   3 FOR ALL CAUSES OF ACTION:
   4 6.      For costs of suit; and

   5 7.       For such other and further relief as the Court may deem just and proper.

   6
   7 I DATED: May 10, 2016                  LAW OFFICES ROBERT F. SMITH
   8

   9                                        By:

  10                                        ROBE     'F. SMITH, attorney for plaintiff

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                                                  COMPLAINT
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                                    1                            CERTIFICATE OF SERVICE
                                    2
                                    3         Pursuant to FRCP 5(b), I the undersigned, certify and declare that I am over
                                    4   the age of 18 years, and am an employee of Gordon & Rees LLP, 2211 Michelson
                                    5   Drive, Suite 400, Irvine, California 92612.
                                    6         On October 18, 2016 and pursuant to FRCP 5(b), I served a true and correct
                                    7   of the foregoing NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
                                    8   (FEDERAL QUESTION) on the parties below by United States Mail addressed
                                    9   as follows to:
                                   10
                                        Robert F. Smith                                Attorneys for Plaintiff
                                   11   Law Offices of Robert F. Smith                 Bruce Rorty
                                        16200 Ventura Blvd., Suite 308
  2211 Michelson Drive Suite 400




                                   12   Encino, CA 91436
                                        (818) 231-2331
       Gordon & Rees LLP




                                   13
        Irvine, CA 92612




                                   14
                                   15         I declare that I am employed in the office of a member of the California
                                   16   State Bar who is permitted to practice before this Court, at whose direction the
                                   17   service stated above was made, and declare under penalty of perjury under the laws
                                   18   of the United States of America that the foregoing is true and correct.
                                   19         Executed on October 18, 2016, at Irvine, California.
                                   20
                                   21                                            ________________________________
                                                                                     Leslie M. Handy
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                                                             NOTICE OF REMOVAL UNDER 28 U.S.C. § 1441 (A)
